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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 IN RE: CHANGE HEALTHCARE, INC.                           MDL No. 24-3108 (DWF/DJF)
 CUSTOMER DATA SECURITY BREACH
 LITIGATION

 This Document Relates to:

 Sara Lemke; Revival Therapy, P.C.; EA
 Health Holdings, Inc.; EA Health, LLC;
 Leading Edge Mental Health, Inc.;                        ORDER FOR DISMISSAL
 Compassionate Concierge Physicians LLC;                WITHOUT PREJUDICE BY
 Clinicians of Color LLC; Center for Child         M.A.D. BILLING, INC. ONLY, AS
 Development Incorporated; Supportive               TO HEALTHFIRST, INC. ONLY
 Hands, Healing Minds, LLC; M.A.D. Billing,
 Inc.; Carriageway L.P.; Individually and on
 Behalf of All Other Persons Similarly
 Situated,

                      Plaintiffs,

 v.            Civil No. 24-3813 (DWF/DJF)

 Change Healthcare, Inc.; UnitedHealth
 Group Inc.; UnitedHealthcare Inc.; Optum
 Inc.; and Healthfirst, Inc., Defendant’s Class
 Representative, individually and on behalf of
 all others similarly situated;

                      Defendants.


       Pursuant to Rule 41(a)(1)(A)(i), and Plaintiff M.A.D. Billing, Inc.’s Notice of

Voluntary Dismissal without Prejudice as to Defendant Healthfirst, Inc. ONLY filed in

this action, (MDL No. 24-3108 (DWF/DJF), (Doc. No. [228]); Civil No. 24-3813

(DWF/DJF) (Doc. No. [90])),
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      IT IS HEREBY ORDERED that the claims of Plaintiff M.A.D. Billing, Inc.,

ONLY as to Defendant Healthfirst, Inc., ONLY are DISMISSED WITHOUT

PREJUDICE.


Dated: March 6, 2025                 s/Donovan W. Frank
                                     DONOVAN W. FRANK
                                     United States District Court




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